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Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

              Massachusetts Mutual Life Insurance Company                                                                                            December 12, 2019
              Jennifer Antaya Senior Paralegal
              MassMutual - Massachusetts Mutual Life Insurance Company
              1295 State Street
              Springfield MA 01111



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                           Item: 2019-428
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             Massachusetts Mutual Life Insurance Company

 2.                          Title of Action:            Richard C. Brenke vs. Massachusetts Mutual Life Insurance Company, et al.

 3.                Document(s) Served:                   Complaint
                                                         Certificate of Compulsory Arbitration
                                                         Plaintiff's Certificate Re: Expert Opinions Pursuant to A.R.S. §12-2602
                                                         Demand for Jury Trial

 4.                           Court/Agency:              Maricopa County Superior Court

 5.                            State Served:             Arizona

 6.                           Case Number:               CV 2019-056962

 7.                               Case Type:             Breach of Contract

 8.                    Method of Service:                Certified Mail

 9.                          Date Received:              Wednesday 12/11/2019

 10.                          Date to Client:            Thursday 12/12/2019

 11.         # Days When Answer Due:                     See Notes                              CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                                                           Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             David S. Shughart
               (Name, City, State, and Phone Number)
                                                         Phoenix, AZ
                                                         602-957-0516

 13.              Shipped To Client By:                  Email Only with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             031

 16.                                      Notes:         Please review the enclosed documents in order to calculate the response due date.
                                                         Also, Note that there was no Summons enclosed with this Service of Process.
NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
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